                            Case 1:23-cv-01531-SCJ Document 1 Filed 04/07/23 Page 1 of 32

                                                                                                                     FILED IN CLERK'S OFFICE
   Pro Se 6 (Rev. 12/ 16) Complaint for a Civil Case Alleging that the Defendant Owes the Plaintiff a Sum of Money
                                                                                                                          11 s DC Allaota

                                                 UNITED STATES DISTRICT COURT                                             APR O7 2023
                                                                                 for the
                                                                                                                      KEVIN P. WEI MER, Clerk

                                                             Noc-!hf;(O District of C
                                                                                    :1ro14 iO\                       By: ~         ~        Clerk


                                                                       {M-\m'\jfA Division

                                                                                           Case No.

   ~~----'-'-1--4--'~~aJ            Plai111ijf(s)                                   )
   (Write the full 11a111e of each plaintiff wlw is'jili11g this co111plai11t.      )
   If the 11a111es of all the plai11tiffs ca1111ot flt in the space above,
                                                                                           Jury Trial: (check 011e) ~ s    0 No
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   please write "see attached ·· i11 the space and attach <111 additio11al
   page with the f ull list of 11ames.)                                             )
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                                   Def e11dant(.1)
                                                                                    )
   (Write the f ull name o each def enda111 who is being sued. If the
   11a111es of all the def e11dants ca1111ot flt in the space above. please         )
   write ''see attached ·' i11 the space and attach an additional page              )
   with the full list of11a111es.)


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                         111
                                COMPLAINT FOR A CIVIL CASE ALLEGING THAT THE
     ~~f<''.;:;i.t1<iss?f.~  o''-:, DEFENDANT OWES PLAINTIFF A SUM OF MONEY
                         1'~·. ~~
                       0
    S ..:Y.•fcP                           (28 U.S.C. § 1332; Diversity of Citizenship)
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                  2023..
                      l"ar;~~ fb!his Complaint
               ••.couN1'! •·•• '
       ',,"I hi.":····••· ~ )aintiff(s)
          11   i[P' PU~ ,,
                '''"""'''Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                           needed.
                                       Name
                                      Street Address
                                      City and County
                                      State and Zip Code
                                      Telephone Number
                                       E-mail Address


                           The Defendant(s)

                           Provide the information below for each defendant named in the complaint, whether the defendant is an
                           individual, a government agency, an organization, or a corporation. For an individual defendant,
                           include the person's job or title (if"k11ml'II). Attach additional pages if needed.

                                                                                                                                             Page I of 6
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Pro Se 6 (Rev. 12/ 16) Complaint for a Civil Case Alleging that the Defendant Owes the Plaintiff a Sum of Money


                     Defendant No. I
                                Name
                                Job or Title (if k11ow11 )
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if known )


                     Defendant No. 2
                                Name
                                Job or Title (if k1101m )
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if k11mv11 )


                     Defendant No. 3
                                Name
                                Job or Title (ij k11ow11 )
                                                                                                                        6
                                Street Address
                                City and County                    ~            ~~Ut1~
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                                Telephone Number
                                E-mail Address (if k110 11111)
                                                                   ~;~ ~c.tf~~\
                     Defendant No. 4
                                Name
                                Job or Title (if kno wn)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if k110 11111)




                                                                                                                  Page 2 of 6
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Pro Se 6 (Rev. 12/16} Complaint for a Civil Case Alleging that the Defendant Owes the Plaintiff a Sum of Money


II.       Basis for Jurisdiction

          Federal courts are courts of limited jurisdiction (limited power). Under 28 U.S.C. § 1332, federal courts may
          hear cases in which a citizen of one State sues a citizen of another State or nation and the amount at stake is
          more than $75,000. In that kind of case, called a diversity of citizenship case, no defendant may be a citizen of
          the same State as any plaintiff. Explain how these jurisdictional requirements have been met.


          A.         The Plaintiff(s)

                      I.        If the plaintiff is an indivAdual

                                The plaintiff,'"""'''           1-1:\ be.rt ½'\ •, ~                 ½\·,\ ' 1 ~ . is a citizen of the
                                State of (name)       (.;zeoCCj/Cl                                               .
                     2.         If the plaintiff is a corporation
                                The plaintiff, (name)                                                                                , is incorporated
                                under the laws of the State of (name)
                                and has its principal place of business in the State of (name)



                     (If more than one plaintiff is named in the complaint, attach an additional page providing the
                     same information for each additional plaintiff.)

          B.         The Defendant(s)

                                If the defendant is an individual

                                The defendant, '"""'''       ~ 1/\ X) (Y)l']f',6(-e,u)                                               , is a citizen of

                                the State of (name)        G,
                                                           _ _. , .,.Qlj,,__+---,131e-~-,. . ~~C1=--.~- - - - - - - - - - - -
                                                           _:~~,                                                                 Or is a citizen of
                                 (joreig11 nation)




                     2.         If the defendant is a corporation
                                The defendant, (name)                                                                           , is incorporated under
                                                               -------------------
                                the laws of the State of (name)                                                                           ' and has its
                                principal place of business in the State of (name)
                                Or is incorporated under the laws of (foreign nation)
                                and has its principal place of business in (name)


                     (If more than one defendant is named in the complaint, attach an additional page providing the
                     same information for each additional defendant.)

          C.         The Amount in Controversy

                     The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                     stake-is more than $75,000, not counting interest and costs of court, because /explain):


                                                                                                                                                Page 3 of 6
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Pro Se 6 (Rev. 12/ 16) Complaint for a Civil Case Alleging that the Defendant Owes the Plaintiff a Sum of Money


II.       Basis for Jurisdiction

          Federal courts are courts of limited jurisdiction (limited power). Under 28 U.S.C. § 1332, federal courts may
          hear cases in which a citizen of one State sues a citizen of another State or nation and the amount at stake is
          more than $75,000. In that kind of case, called a diversity of citizenship case, no defendant may be a citizen of
          the same State as any plaintiff. Explain how these jurisdictional requirements have been met.


          A.         The Plaintiff(s)

                      I.        If the plaintiff is an individual
                                The plaintiff, ,,,,,,,,,        Al bvrt K; Q ~ \\ ·, ooci:faJ                                     is a citizen of the
                                State of (name)       (
                                                          1 ( O ~ / Di(                                           .

                     2.         If the plaintiff is a corporation
                                The plaintiff, (name)                                                                                 , is incorporated
                                under the Jaws of the State of (11a111e)
                                and has its principal place of business in the State of (11a111e )



                     ({f more than one plaintiff is named in the complaint, attach an additional page providing the
                     same information for each additional plaintiff.)

          B.         The Defendant(s)

                                If the defendant is an individual
                                The defendant, (name~          5h:t,'i l CT\. ( )one6                                                 , is a citizen of

                                                      -"~'7._e
                                the State of (11ame ) C            o. . . . .
                                                             . . . . . G_.'21,....,-\-+-i~6'.~-' - - - - - - - - - - - - - - -    Or is a citizen of
                                 (foreign nation )                            V


                     2.         If the defendant is a corporation                                                           Gc.t
                                The defendant, (name)           fu~ Ql~fr±i(e/}1?1\t~ oe                                         'is incorporated under
                                the laws of the State of (11a111e)              C-t~fl't) £Q/\,                                            , and has its

                                principal place of business in the State of (name) {;'-"<--·:--c,,..__eo
                                                                                                    """"-.,_t7o~~l'-'C1
                                                                                                                     =-i..____________
                                Or is incorporated under the laws of (foreign nation )
                                and has its principal place of business in (name)


                     (If more than one defendant is named in the complaint, attach an additional page providing the
                     same information for each additional defendant.)

          C.         The Amount in Controversy

                     The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                     stake- is more than $75,000, not counting interest and costs of court, because /explain) :


                                                                                                                                                 Page 3 of 6
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Pro Sc 6 (Rev. 12/ 16) Complaint for a Civil Case Alleging that the Defendant Owes the Plaintiff a Sum of Money


II.       Basis for Jurisdiction

          Federal courts are courts of limited jurisdiction (limited power). Under 28 U .S.C. § 1332, federal courts may
          hear cases in which a citizen of one State sues a citizen of another State or nation and the amount at stake is
          more than $75,000. In that kind of case, called a diversity of citizenship case, no defendant may be a citizen of
          the same State as any plaintiff. Explain how these jurisdictional requirements have been met.

          A.         The Plaintiff(s)

                      I.        If the plaintiff is an individual

                                The plaintiff, '""'"'J           !l~+~iVll/\£~-Yl()ft(.ev) ,            1                         is a citizen of the
                                State of (11a111e)    G~ /ff\.                                                    .

                     2.         If the plaintiff is a corporation
                                The plaintiff, (name)                                                                                 , is incorporated
                                under the laws of the State of (11a111e)
                                and has its principal place of business in the State of (11a111e)



                     ( If more than one plaintiff is named in the complaint, attach an additional page providing the
                     same information for each additional plaintiff.)

          B.         The Defendant(s)

                     I.         If the defendant is an individual

                                The defendant, (11a111e)        th1i--b2'. /Mvoc-e,                                                   , is a citizen of
                                the State of (11a111e) G-.£.<-:z~c_..._ws.Ll--"""----l-<1'-·e1""'--'..._
                                                                                            '            _ _ __ __ _ _ _ _ _ __   Or is a citizen of
                                 (foreign 11atio11)




                     2.         If the defendant is a corporation
                                The defendant, (11a111e)1)l\fivi          on Ck cb, \d :'6~6et:vi~ is incorporated un~er
                                the laws of the State of (11a111e) ['tt:nrtl.) /C1                                                         , and has its
                                principal place of business in the State~((11a111e) C-.. ~L. .C
                                                                                              . .·. ..,..Q.,_,_G~·~(~·V'.1~- - - - - - - - -- -
                                Or is incorporated under the laws of (foreign 11a1io11)                     ~
                                                                                                      -----------------
                                and has its principal place of business in (11a111e)


                     (If more than one defendant is named in the complaint, attach an additional page providing the
                     same infonnation.for each additional defendant.)

          C.         The Amount in Controversy

                     The amount in controversy- the amount the plaintiff claims the defendant owes or the amount at
                     stake-is more than $75,000, not counting interest and costs of court, because (explain):


                                                                                                                                                 Page 3 of 6
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Pro Sc 6 (Rev. 12/16) Complaint for a Civil Case Alleging that the Defendant Owes the Plaintiff a Sum of Money


II.       Basis for Jurisdiction

          Federal courts are courts of limited jurisdiction (limited power). Under 28 U.S.C. § 1332, federal courts may
          hear cases in which a citizen of one State sues a citizen of another State or nation and the amount at stake is
          more than $75,000. In that kind of case, called a diversity of citizenship case, no defendant may be a citizen of
          the same State as any plaintiff. Explain how these jurisdictional requirements have been met.


          A.         The Piaintiff(s)

                     l.         If the plaintiff is an individual

                                The plaintiff, '"""''J           A\ \oe,c} \')\ Y1Y)fi1¼\ v'\ ~ ,                             is a citizen of the
                                State of (name)       [
                                                          7 (::j,J'f't? i vt._                                   .
                     2.         If the plaintiff is a corporation
                                The plaintiff, (name)                                                                              , is incorporated
                                under the laws of the State of (name)
                                and has its principal place of business in the State of (name)



                     ( If more than one plaintiff is named in the complaint, attach an additional page providing the
                     same information for each additional plaintiff.)

          B.         The Defendant(s)

                     I.         If the defendant is an individual

                                The defendant, (name)           K--etW'\'€W 5m ifu                                                 , is a citizen of

                                the State of (name)         C1c.-:Zlc-'e o......_c,....9--H-'10.,. . .,~ -------------
                                                                 - ........                                                    Or is a citizen of
                                (jo reign 11atio11)




                     2.         If the defendant is a corporation
                                The defendant, (name)           t}-, .~\CA.vi:'),J\\\/OC (...fX\tf 2(' , is incorporated under
                                the laws of the State of (11am~(~:z   :e..,.o. . .(2.. . _,_.,+/~0'.\'------"',- = - - - - - - - - - - - - , and has its
                                                                 .........

                                pri~c;_pal place of business in the State~},,,.,,,,,             C
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                                                                                                                       l      ---------
                                Or 1s incorporated under the laws of (foreign nation )
                                and has its principal place of business in (name)


                     (If more than one defendant is named in the complaint, attach an additional page providing the
                     sam.e i1~fonnation for each additional defendant.)

          C.         The Amount in Controversy

                     The amount in controversy- the amount the plaintiff claims the defendant owes or the amount at
                     stake- is more than $75,000, not counting interest and costs of court, because (explain):


                                                                                                                                               Page 3 of 6
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Pro Sc 6 (Rev. 12/ 16) Complaint for a Civil Case Alleging that the Defendant Owes the Plaintiff a Sum of Money




m.        Statement of Claim

          Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
          facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
          involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
          the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
          write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

          The defendant, (name)                                                                                   , owes the plaintiff (specify the
          amo,1111) $                                , because (use one or more ~f thefol/011·i11g, as appropriate):

          A.         On a Promissory Note
                     On (date)                                 , the defendant signed and delivered a note promising to pay the plaintiff
                     on (date)                                 the sum of (.1pecifi1the amo1111t) $                             with interest at the rate
                     of (specif\' the ,1111011111)                            percent. The defendant has not paid the amount due and owes
                     (state the a11101111t of 1111paid pri11cipa/ a11d i11terest) $                         . A copy of the note is attached as an
                     exhibit or is summarized below. (Attach the 11ote or summari::.e what the doc11me111 says.)




          B.        On an Account Between the Parties
                    The defendant owes the plaintiff (specify the amount)$                 l ) 15 0 0 QO
                                                                                                       )
                                                                                                                       . This debt arises from an
                    account between the parties, based on (state the basis. such as an ag reement between a credit- card company and a
                    credit- card holder)




                    The plaintiff sent the defendant a statement of the account listing the transactions over a certain period
                    and showing the bills sent, the payments received or credits approved, and the balance due. The
                    defendant owes (specify the amount)$                                     . Copies of the bills or account statements are
                    attached as exhibits or summarized below. (A ttach the state111e11ts or .w111111arir.e what they say.)




                                                                                                                                                Page 4 of 6
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Statement of Claim

In 2009 I was terminated from Northwest Regional Hospital in Floyd
County Georgia. Upon Termination a as processed. threw the Employees
retirement system of Georgia My Pension Primary and Group Term Life
Insurance Primary as D1stribut1on at 100% for each to my Beneficiary
Beverly Kinnebrew witch means I was lab I dead. I need help
understanding how am l on chrld support under names that i was told
that aren't mine been arrested under these name issued warrants and
under these names threw the same state that labeled m dead. 8/28/00
Glenn White presents my name as Kenn brew Albert Kinney to the state
of Georgia Department of Pubhc Safety a long with public notary and
submit to licensed examination facility. My name wasn't legaHy changed
to Albert Kinney Kinnebrew until 02/27 /01 the Civil action file number on
my birthday suppose to b 00-CV-20421 -3 not 00-CV-20420-3. I have
been subpoena to court under the name Kennebrew Albert Kerry. 2013,
2014, 201 5, and 201 6 taxes where stolen from and filed with out my
Permission when I go the notice 1n the mail that I a balance of 440.57
with the IRS and then in 2020 I got another one for 421.31 I filed a identity
theft claim. A employee for the IRS named Eddie Eills stated that another
person had file a taxes return before I filed in 2016. Told me that I will
receive a refund that I never received and all sent a letter stating this as
well. I have three different allias that are tied to the floyd county jail and
also been issued warrants under names that are not mine put 1n mental
Facilities under these fraudulent names as well. These organizations are
using the ssn XXX-XX-XXXX Embezzle money from me that I am to be
claiming.
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Pro Sc 6 (Rev. 12/16) Complaint for a Civil Case Alleging that the Defendant O wes the Plaintiff a Sum of Money




           C.        For Goods Sold and Delivered
                     The defendant owes the plaintiff (sp ecify the a11101111t) $                                    , for goods sold and delivered
                     by the plaintiff to the defendant from (da te)                                      to (date)


          D.         For Money Loaned
                     The defendant owes the plaintiff (sp ecify the amount)$                                         , for money the plaintiff loaned
                     the defendant on (date)


          E.         For Money Paid by Mistake
                     The defendant owes the plaintiff (sp ecify the a11101111t) $                                    for money paid by mistake to
                     the defendant on (date)                                      , when the defendant received the payment from (specify who
                     paid and describe the circumstances of the payment)




          F.         For Money Had and Received
                     The defendant was paid money (sp ecify the a11101111t) $                                        on (da te)                       by
                     (ide11tify ll'ho paid a11d describe the circ11111sta11ces of the paym ent)




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                     It IS unjust for the defendant not to pay the platnttff the money received because (explain the reaso11, such as
                     tha t the money was intended to be paid to the plai11tifJ. or was paid by coercion, duress. or fraud, or ll'as an Ol'e1payment or a

                     deposit to be re/limed)




                    ~tJ,,~'t'';;iiI,~~,\~~~i~~reotL\ bw;,K Y>S£d b,\ Tod,olber rwne0
IV.       Relief

          State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
          arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
          the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
          punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
          punitive money damages.




                                                                                                                                                Page 5 of 6
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Pro Se 6 (Rev. 12/16} Complaint for a Civil Case Alleging that the Defendant Owes the Plaintiff a Sum of Money




V.        Certification and Closing

          Under Federal Rule of Civil Procedure 11 , by signing below, I certify to the best of my knowledge, information,
          and belief that this complaint: (I) is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay , or needlessly increase the cost of litigation; (2) is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
          requirements of Rule 11.

          A.         For Parties Without an Attorney

                     I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                     in the dismissal of my case.

                     Date of signing:


                     Signature of Plaintiff
                     Printed Name of Plaintiff

          B.         For Attorneys

                     Date of signing:


                     Signature of Attorney
                     Printed Name of Attorney
                     Bar Number
                     Name of Law Firm
                     Street Address
                     State and Zip Code
                     Telephone Number
                     E-mail Address




                                                                                                                      Page 6 of 6
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                     EMPLOYEES'
                     RETIREMENT SYSTEM
/
                                        OF GEORGIA

                                                   APPLICATION FOR REFUND OF CONTRIBUTIONS - ERS
    1. Please print or type deariy.
                                                                                                                     ,► •·
    2. Send this form to your Payroll Departnent. Do not send to Employees' Retirement System (ERS).
                                                                                                                           tax. Typically the rate Is
    3. If the taxable portion (Interest eamed) of your refund Is less 1han $200,00, ERS will withhold federal Income
       30%,   or if you are over 59 112 • the withholding rate is 20%.
    ◄. If the taxable portion (Interest earned) of your refund is more than $200.00, ERS is required
                                                                                                          to withhold federal income tax unless
       you directly roll over 1he taxable portion  to another eligible retirement plan. ~u will be notified by ERS if this applies to you.
    5. Refunds include accumulated employee contributions and credited interest earnings (if any).
    6. Upon receipt of refund application In this office, pleaae allow 8 weeo fo;. proc:a.alng.




    Date of Birth:   .il..-12.k.J.Qj_
                     ,(IMIJ   (dell   (Yml
                                                                                                            ',,l~IL6i'I                  ----------
    StateAgency/Oepa'rtment kl which you were employed: ~-',1.1.-i- -':...-'-4"~ ;..c..,,..,_. ..L...-"4,'-




    1. Please provide the following dates for the above mentioned emplo~ (if applicable).

    Termination date:le .J{           3,Joo "1mtary Leave: _/_/_ to_/__,__
    2. Complels salary & con1rt>utions information for the current frscal year.    3. Read the statement below and'sisn.
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                                                                                     year. The full amount will be refiilld   ess GTLI premi-
                                                                                     urns) by the Retirement System and subsequently paid
                                                                                     lo the Retirement System by the employing department



                                                                                   iPayroll Offloer Name


                                                                                   !Signature


                                                                                   Date                        Telephone Number




    Total# of Months: _ _ _ _ _ __                           Total Salary: _ _ _ _ _ __                         Total Conbibutions:_ _ _ __

    O:}-ERS 0312006

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          Two Northsldo 75 Suits 300 • Atlanta, GA 30318 • PHONE (404) 350-6300 (800) 806-4809 • FAX (404) 360-6308
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                                                         Filed 04/07/23 Page 14 of 32




             6:2S AM Tue Feb 9                                                                                                                                      ,:,   32.,~ •

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                                                                                                CLERK

INRE:
                                                                CIVIL ACTION
BEYERLY DIANE KINNEBREW as
                                                                 FILE NO.         00-CV-20421-3
mother and next friend of
ALBERT KIN NY STOCKS, JR



                                       ORDER OF COURT


                                                        to be heard at the time and place fixed in the
        The above and foregoing petition coming on
                                                                                                    s as
                                               county official organ once a week for four week
notice of same, which was published in the
                                                                                                 in said
                                                ctions were filed at the time and place fixed
required by law, and it appearing that no obje
                                                                                                     ted,
notice, and no reason appearing to the court
                                               why the prayers of the petition should not be gran
                                                                                                  of her
                                                  r has shown sufficient cause for the change
and it appearing to the_ court that the petitione
                                                                                                      the
                                                   is proper. it is hereby orqered by the court that
minor child's name as prayed and that the same
                                                   CKS. JR. be changed· to _ALB ?RT KIN
                                                                                                   NEY
 name of the said ALBERT KINNY STO
                                                                                                    otjze ·
                                                 judgment of the court shall not operate to· auth
 KINNEBREW. It is further ordered that this
                                               deprive others of any legal right under the law.
 the change of said name so as to fraudulently

                          ,i
         This the   Z'l        day of # d ' ~ t              , 2001.
                                              t




                                                  JUDGE, SUPERIOR COURT
                                                  Floyd County, Georgia
                                           Case 1:23-cv-01531-SCJ Document 1 Filed 04/07/23 Page 16 of 32




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                   STATE OF GEORGIA-CERTIFICATE OF LIVE BIRTH
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                          This is to certify that this i s a true and eorrect copy of the certificate
                     filed with the Vital Records Service. Georgia Department of Hunan Resources . This
                     certified copy is issued under the authority of Chapter 31-10, Vital Records Code
                        ~                                  R.~
                                                             J •                                                                                     ~m ~
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                     of Georgia.

                    State Vital         Registrar
                    and Custodian, Director,
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                                                                                                           County Custodian · .
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                                                COUHIY         05?              cnv. TOWN, OR LOCATION
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                                                                                               11b_June 29, 1985                                                                           11d. lldt)
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                                                                                               111.
                                                                                                      1105 North .Fifth Avenue, Rane, Georgia 30161




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THIS IS TO CERTIFY THAT THIS IS A TRUE REPRODUCTION OF THE ORI GINAL RECORD ON FILE WITH THE GEORG IA DEPARTMENT OF PUBLI C HEALTH , STATE OFFICE OF
VIT AL RE CORDS. THI S CERTIFI ED COPY IS ISSUED UNDER THE AUTH ORITY OF CHAPTER 31 · 10, CODE OF GEORGI A ANO 611-1·3, OPH RULE S AND REGULAT IONS .
A,,y ,ep,oduction of L'lis dcc-Jment Is prohibited by stalll!e. Do not accept unless on secunty paper w!th seal of Vital Records clearty embossed. Chapter 31-10, Code of Georgia as amended.




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                                  Case 1:23-cv-01531-SCJ Document 1 Filed 04/07/23 Page 18 of 32

                              Departmcntof~ nt~c•••ia                             .-    If/II.       ..,,

 Ji'~         .<..,..:        Income Tax Return for Single and
1MOEZ                         Joint Fliers With No Dependents                    2014                                                                    0MB No. l.54S--0074
                                                               Last name.     f

                                                                  · K, JJA/'e.J.~eJ
                                                               Lastnane


  Home                                                                                                                             Apt no.                Make 8'ft the SSN{s)
                                                                                                                                                           above are com,ct.




                              1     Wages, salaries, and tips. This should be shown in box 1 of your Form(s) W-2.
 Income                             Attach your Form(s) W-2.                                                                                    1
 Attach
 Form(s)W-2
 here.                        2     Taxable interest If the total is over $1,500, you cannot use Fonn 1040EZ.                                   2

 Enclooe,butdo
 not attaeh, any              3     Une      oyment compensation and Alaska Pennanent Fund dividends (see instructions).                       3
 payment
                              4     Add lines 1, 2, and 3. This is your adjusted gross income.                                                  4
                              S     If someone can claim you (or your spouse if a joint return) as a dependent, check
                                    the applicable box(es) bclow and enter the amount from the worksheet on back.
                                    0 You               O  Spouse
                                    If no one can claim you (or your spouse if a joint return), enter $10,150 if single;
                                    $20,300 if married filing jointly. See back for explanation.                                                s        {)       ~() t,()
                              6     Subtract line 5 from line 4. If line 5 is larger than line 4, enter -0-.
                                    This is your taxable income.                                                                       ►        6
                              7     Federal income tax withheld from Form(s) W-2 and 1099.                                                      7
 Payments,                    8a    Earned income credit (EiC) (see instructions)                                                               8a
 Credits,                       b   Nontaxable combat pay election.                              8b
 and Tax                      9     Add lines 7 and 8a. These   are  our total   yments   and   credits.                               ►        9
                             10     Tax. Use the amount on line 6 above to find your tax in the tax table in the
                                    instructions. Then, enter the tax from the table on this line.



 Refund                      13a If line 9 is larger than line 12, subtract line 12 from line 9. This is your refund.
 Have it directly
                                 If Form 8888 is attaclied, check here ►            0                                                          13a
 deposited! See
 instructions and          ► b      Routing number         ..__...__...__.. . . . . . . . . . . . ___.__.__,! ► c Type: D Olccking D Savings
 fill in 13b, 13c,
 and 13d, or
 Form8888.                 ► d      Account number

 Amount                      14     If line 12 is larger than line 9, subtract line 9 from line 12. This is
 You Owe                            the amount you owe. For delBils on how to pay, see instructions.                                   ►       14
                            Do you want to allow another person to discuss this retum with the IRS (see Instructions)?               D Yes. Complete below. 0 No
 Third Party
 Designee                                                                              Pbooe                                    Pasooal idcruificalioo
                            Dcsipee's
                           name         ►                                              no.       ►                              numbec (PIN)             ► I I I        I I
 Sign                      Under penalties of pe,jla'y, I declare that I have axarnlned this re1Lm n, to the best of rrry knowledge and belief, it is true, COIT9Ct, and
                           acawately lists al amounts and SOl.l'C8S of Income I !808Mld during the tax .,.,_ Decbnlion of preparer (other than the taxpayer) is based
 Here                      on al information of which the preparer has any knowledge.
                                                                                                       Yoo,: occupation                    Daytime phone ntm)8(
 Joint return? See ►       Y<XJT signatlR                                                Date
 insuuctions.
' Keep 11 «x>py for        Spouse's signann. If a joint rallm, both must sign.          Date
  your records.
                         PrinVType preparer's name
 Paid
 Preparer
 Use Only
 For Discmure, Prlocy Ad, and                                                                                                                                                  ('2014)
                                     Case 1:23-cv-01531-SCJ Document 1 Filed 04/07/23 Page 19 of 32
           Georgia Department of Revenue
           TAXPAYER SERVICES DIVISION
           P.0. BOX 105499
           ATLANTA, GA 30348-5499
           Telephone: (877) 423-6711                                                                                                    b!.201


           Darcy Pyle, Director, Taxpayer Senrices Division                                                       David M. Curry, State Revenue Commissioner




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                                                                                                                      Letter ID:                  L1347728688
           ALBERT K KINNEBREW                                                                                         Issued Date:                27-May-2020 .
           331 ASHLAND PARK BLVD NE APT 331                                                                           SSN:                         ***-**-9794
           ROME GA 30161-8697
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                                                             - STATEMENTOFTAXPA WR'SACCOUNT(S)
             This statement does not affect your rights to appeal or protest any of the listed periods. If you need additional help, please visit
             our website at https://gtc,dor ga gov or call us at (877) 423-6711.

             Why you are receiving this letter:
               •     Our records show you owe additional tax, penalty, and interest.
               •     The following page lists all of the transactions and periods included in the total due shown below.


                                                                       Tax - Credit                     $239.40
                                                                       Penalty                           $93.40
                                                                       Interest                          $88.51
                                                                       Other                              $0.00
                                                                       Balance                          $421.31
              What you need to do:

               •      If you are in bankruptcy and the Georgia Department of Revenue has not been notified, please complete the information
                      on the back of this letter.
               •      Do nothing for any tax liabilities in a period below that are currently in a payment plan or a pending protest or appeal.
                      Otherwise please go to the Georgia Tax Center at https·l!gtc,dor ga goy and pay the full amount due or request a
                      payment plan.



                                                                                                                           ALBERT K KINNEBREW
                                                                                                                           331 ASHLAND PARK BLVD NE APT
                                                                                                                           331                             ■
                                                                                                                           ROME GA 30161-8697




             This payment voucher must be included with your payment. Do not reproduce for another payment.
             To pay electronically, go to https:/lgtc.dor.ga.gov and use 72182226328 as your notice number.
                                                                                            IOTYPE                  TAX TYPE             VOUCHER TYPE

                                                                                             01                       99                         08
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                        Georgia Department of Revenue                                                                                        070
                        Taxpayer Services Division
                                                                                        72182226328
                        P. 0 . Box 740321                                               DO NOT STAPLE OR PAPER CLIP. REMOVE ALL CHECK STUBS.
                        Atlanta, Georgia 30374-0321
                                                                                                         AMOUNT DUE$                              421.31
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                                       Case 1:23-cv-01531-SCJ Document 1 Filed 04/07/23 Page 20 of 32
            Georgia Department or Revenue
            TAXPAYER SERVICES DIVISION
            P.O. BOX 10S499
            ATLANTA, GA 30348-S499
            Telephone: (877) 423-6711                                                                                                                                           bUOI


            Ronald Johnson Jr., Director, Taxpayer Services Division                                                                      Lynnette T. Riley, State Revenue Commissioner




                                                       lll~IBIDlllmlffll            2260


                                                                                                                                                   Letter ID:                             L1471193800
            ALBERT T KINNEBREW                                                                                                                     Issued Date:                            24-Sep-2019
            121 WADSWORTH ST NE
            ROME GA 30161-S564
                                                                                                                                                   SSN:                                    ***-**-9794
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                                                       ---- SiAfEM.t:NT uFiAxPAYEK•~ ACCUu ·1{SJ
              This statement does not affect your rights to appeal or protest any of the listed periods. If you need additional help, please visit
              our website at https://gtc.dor.ga.gov or call us at (877) 423-6711.

              Why you are getting this letter:
               •      Our records show you owe additional tax, penalty, and interest.
               •      The following page lists all of the transactions and periods included in the total due shown below.


                                                                           Tax - Credit                                     $244.00
                                                                           Penalty                                          $142.79
                                                                           Interest                                          $53.78
                                                                           Other                                              $0.00
                                                                           Balance                                          $440.57
              What you need to do:

                       Do nothing if you are currently in bankruptcy or have an offer in compromise application under review.
                       Do nothing for any tax liabilities In a period below that are currently in a payment plan or a pending protest or appeal.
                •      Otherwise please go to the Georgia Tax Center at https://gtc.dor.ga.gov and pay the full amount due or request a
                       payment plan.


                       ------···················································-····-······························ ········----··················-····················-·········-··························-·······
                                                                                                                                                         ALBERT T KINNEBREW

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              • ri1~::~m 1111 111111 UlllUm 111111111
                                                                                                                                                         121 WADSWORTH ST NE
                                                                                                                                                         ROME GA 30161-5564




             This payment voucher must be included with your payment. Do not reproduce for another payment.
             To pay electronically, go to https://gtc.dor.ga.gov and use 89431198160 as your notice number.
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                         Georgia Department of Revenue
                         Taxpayer Services Division                                                89431198160                                                                       070
                         P. 0. Box 740321                                                           DO NOT STAPLE OR PAPER CLIP. REMOVE ALL CHECK STUBS.
                         Atlanta, Georgia 30374-0321
                                                                                                                               AMOUNT DUE$                                               440. 57
                                                                                                                               AMOUNT PAID $

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                                       Case 1:23-cv-01531-SCJ Document 1 Filed 04/07/23 Page 21 of 32
            Georgia Department of Revenue
            TAXPAYER SERVICES DIVISION
            P.O. BOX 105499
            ATLANTA, GA 30348-5499
            Telephone: (877) 423-6711                                                                                  bL200

            Darcy Pyle, Director, Taxpayer Services Division                                    David M. Curry, State Revenue Commissioner




                                                                                                     Letter ID:                L1613910440
            ALBERT K KINNEBREW                                                                       Issued Date:               16-Sep-2020
            331 ASHLAND PARK BLVD NE APT 331
            ROME GA 30161-8697                                                                       SSN:                       ***-**-9794
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                                                            OFFrCIAL ASSESSMENT AND DEMAND FOR PAYMENT

              This is an Official Assessment and Demand for Payment against you for Individual Income Tax in the amount of$79.64.
              This assessment does not include any prior assessed taxes or credits on the account. The assessment is for the filing period
              ending December 31, 2015.
              Why you are receiving this letter:
              •   You did not pay the total amount of tax, interest and/or penalties due on time.



                                                                       Tax                        $77.00
                                                                       Interest                     $1.50
                                                                       Penalty                      $1.14
                                                                       Total                     $79.64
             What you need to do:
             Go to the Georgia Tax Center (GTC) at https·//i,c dor ia i:ov to do one of the following:
              •    Pay the amount due immediately;
              •    Appeal this Official Assessment (see the back of this page for more information); or
              •    You may upload supporting documents to help resolve this matter by using the Letter ID as the submission key.
                   Supporting documents may include:
                 •    Pay or file confirmation number • W-2 'sf withholding statement • Proof of payment

              What will happen if you do nothing:
              •  Penalty and interest will continue to accumulate each month, increasing your overall amount due.
              •  The Georgia Department of Revenue may issue and record a lien with the Clerk of the Superior Court of the appropriate
                 county if you fail to pay or file an appeal within 30 days of the date of this notice.

             For information concerning payment options, bankruptcy and appeals, see the back of this letter. For other questions, you may
             call the number above.




              To submit documentation electronically, go to https://gtc.dor.ga.gov and use LI 613910440 as your document submission key.
                                                            An Equal Opportunity Employer
                                                                     dor.georgia.gov

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            Case 1:23-cv-01531-SCJ
,Georgia Department of Revenue     Document 1 Filed 04/07/23 Page 22 of 32
OFFICE OF SPECIAL INVESTIGATIONS
1800 CENTURY BLVD NE, SUITE 1175
ATLANTA, GA 30345-3205
Telephone: (877) 423-6711
                                                                                                                       r L204

Jeff Mitchell, Director                                                                            David M. Curry, State Revenue Commissioner




 ALBERT K KINNEBREW
                                                                                                     Letter ID:                 L0315556552
 331 ASHLAND PARK BLVD NE APT 331                                                                    Issued Date:                24-Jun-2020
 ROME GA 30161-8697                                                                                  SSN:                        ***-**-9794
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Re: Identity Theft Claim (2015)

The Georgia Department of Revenue has processed your identity theft claim. Based on a review of your account
and the claim information submitted, the Department has removed any outstanding liability for the
above-referenced tax year(s). If you have already filed your actual Georgia tax return with the Department and are
due a refund, you should receive the refund within 30 business days.

If you have questions regarding this letter, please contact the Department's Office of Special Investigations at
l-877-423-6711 and select option 3.

Georgia Department of Revenue




                                                                   An Equal Opportunity Employer
                                                                           www.dor.georgia.gov
     Free tax prep at .r...~e,611~                    2015 1W-2
                            Case 1:23-cv-01531-SCJ Document      and
                                                             Filed     EARNINGS
                                                                   04/07/23         SUMMARY
                                                                            Page 23 of 32                                                                                                                                                           ~
     1rs,gov/freeflle • ~._, • ••~
        Em:.:.oyee Reference Co~                                                                    Thia blue Earning• Summary aectlon la Included with your W-2 to help deaorlbe portion• In more detall.
     W-,e.W•g•andTax 2 u 1 5                                                                        The reverse aide lncludn general Information that you may also find helpful.
                Statement    0111
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                                                                                                            Gro•• Pay                    3879. 25           Social Security                     240. 51    GA. State Income Tax                          154. 33
                                                                                                                                                            Tax Wl1hheld                                   Box 17 of W-2
 o     Employer'• nama, acid,-, and ZIP oode                                                                                                                Box 4 of W-2                                   SUI/SDI
            SYNTEC INDUSTRIES LLC                                                                           Fad. Income                    358.09           MadlcareTu
                                                                                                                                                                                                           Box 14ofW-2
                                                                                                                                                                                                 56.25
            438 LAVENDER DR                                                                                 Tu Withheld                                     Withheld
            ROME GA 30165                                                                                   Box2 of W-2                                     Box8ofW-2

                                                                                                      2. Your Gron Pay-• adJuated u follows to produce your W-2 Statement.
                                                       Batch #03441
                                                                                                                                   Wag••• Tips, other Social Security Medicare                                                        GA. State Wagn,
  ell Em~•• nama, add--, end ZIP oode                                                                                              Compenaatlon        Wagn             Wagn                                                          Tips, Etc.
                                                                                                                                                       Box 1 of W•2                   Box 3 of w-2            Box 5 of w-2            Box11SofW•2
 ALBERT K KINNEBREW
 308A CAMP                                                                                          Gross Pay                                                   3,879.25                    3,879.25              3,879.25                   3,879.25
 ROME GA 30161                                                                                  Reported W-2 Wagn                                               3,879.2S                    3,879.25              3,879.25                   3,879 .25




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       erlllolltlon Code                    10 Dependant cara beneffla                                3. EmployN W-4 Profile. To change your Employee W-4 Proflle Information, file a new W-4 with vour payroll dept.
 11 Nonquallllecl plana
                                                                                                             ALBERT K KINNEBREW                                                                           Social Security Number:XXX-XX-XXXX
 14 Other                                                                                                    308A CAMP                                                                                    Taxable Marital Status: SINGLE
                                                                                                             ROME GA 30161                                                                                Exemptions/Allowances:
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 17 State lnoome tax
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           SYNTEC INDUSTRIES LLC                                                                         SYNTEC INDUSTRIES LLC                                                                    SYNTEC INDUSTRIES LLC
           438 LAVENDER DR                                                                               438 LAVENDER DR                                                                          438 LAVENDER DR
           ROME GA 30165                                                                                 ROME GA 30165                                                                            ROME GA 30165
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7 Soclel~tlpa                                                                                  7     Social -urlty tlpa                  I Allocated tlpa                              7    _ , .-my tlpa                     8 Allocated tlpa
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ALBERT K KINNEBREW                                                                        ALBERT K KINNEBREW
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308A CAMP                                                                               I 308A CAMP                                                                            I 308A CAMP
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17 State Income tax                        18 Local wegea, tlpa, eta.                  ia 11 Stat. lnoome tax                        11• Local wagea, tlpa, eta.              0
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                         Case 1:23-cv-01531-SCJ          Document 1Copy B-To
                                                                     Filed   Be Filed With
                                                                           04/07/23        Employee's
                                                                                        Page   24 of 32
City, or Local Income Tax Return
a Employee's soc. sec. no.
                                              XX-XXXXXXX
                                          0 MB No. 1545-0008
                                     1 Wages, tips, other comp.
                                                                       I
                                                                   FEDERAL Tax Return.
                                                                      2 Federal income tax withheld         a Employee's soc. sec. no.          1 Wages, tips, other comp.
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  255-51 -9794
                                     3 Social security wages          4 Social security tax withheld                                            3 Social security wages            4 Social security tax withheld
b Employer ID number (EIN)                              1,081.73                            67.07          b Employer ID number (EIN)                              1,081.73                                  67.07
                                     5 Medicare wages and tips        6 Medicare tax wtthheld                                                   5 Medicare wages and tips          6 Medicare tax withheld
  XX-XXXXXXX                                                                                                  XX-XXXXXXX
                                                        1 nA1 73                            1'- l':Q                                                               1,081.73                                  15.69
c Employe(s name, address, and ZIP code                                                                     c Employe(s name, address, and ZIP code

    Ashton Staffing                                                                                              Ashton Staffing
    3590 Cherokee St                                                                                             3590 Cherokee St
    Suite 303                                                                                                    Suite 303
    Kennesaw, GA 30144                                                                                           Kennesaw, GA 30144


d Control number                                                                                            d Control number
     0005052-0120                                                                                              0005052-0120
a Employee's name, address, and ZIP code                                                                    e Employee's name, address, and ZIP code

    ALBERT KINNEBREW                                                                                             ALBERT KINNEBREW
    308A CAMP ST NE                                                                                              308A CAMP ST NE
    ROME GA 30161                                                                                                ROME GA 30161

               11 11 l•lill1ll1 11 ••1111 111 1111••11h111 111 1•11111lln1lull1pll11
 7 Social security tips              8 Allocated tips                 9                                     7 Social security tips              8 Allocated lips                    9
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1o Dependent care benefits          11 Nonqualitied plans             12aCode                              10 Dependent care benefrts          11 Nonqualified plans               12aCode See Inst. for box 12
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13 Statutory employee         14 Other                                12bCode                              13 Statutory employee         14 Other                                  12bCode


    Retirement plan                                                   12c Code                                 Retirement plan                                                     12cCode


  Third-party sick pay                                                12dCode                                Third-party sick pay                                                  12dCode



 GA    I    1946748-KR

15 State Employer's state ID number
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18 Local wages, lips, etc.        19 Local income tax                 20 Locality name                     18 Local wages, tips, etc.          19 Local income tax                 20 Locality name



'orm W-2 Wage and Tax Statement                         2015               Dept. of the Treasury •• IRS   Form W-2 Wage and Tax Statement                          2015                  Dept. of the Treasury •· IRS
                                                                                                          This information is being furnished to the Internal Revenue Service.




Copy 2-To Be Filed With Employee's State,                                                                  Copy C-For EMPLOYEE'S RECORDS (See
                                                                                                                                                                                    I
                                                                                  XX-XXXXXXX                                                                                                    38·2099803
Cltv. or Local Income Tax Return
a Employee's soc. sec. no.           1 Wages, tips, other comp.
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                                                                      2 Federal income tax withheld
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 XXX-XX-XXXX                         3 Social security wages          4 Social security tax withheld                                            3 Social security wages            4 Social security tax withheld
b Employer ID number (EIN)                           1 081.73                              67.07           b Employer ID number (EIN)                              1,081.73                                 67.07
                                     5 Medicare wages and tips        6 Medicare tax withheld                                                  5 Medicare wages and lips           6 Medicare tax withheld
 XX-XXXXXXX                                                                                                  XX-XXXXXXX                                            1,081.73                                 15.69
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c Employe(s name, address, and ZIP code                                                                    c Employer's name, address, and ZIP code

    Ashton Staffing                                                                                             Ashton Staffing
    3590 Cherokee St                                                                                            3590 Cherokee St
    Suite 303                                                                                                   Suite303
    Kennesaw, GA 30144                                                                                          Kennesaw, GA 30144

d Control number                                                                                           d Control number
    0005052-0120                                                                                               0005052-0120
a Employee's name, address, and ZIP code                                                                   e Employee's name, address,'and ZIP code
    ALBERT KINNEBREW                                                                                           ALBERT KINNEBREW                                                                       '
    308A CAMP ST NE                                                                                            308A CAMP ST NE
    ROME GA 30161                                                                                              ROME GA 30161


 7 Social security tips
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13 Statutory employee         14 Other                                12bCode                             13 Statutory employee          14 Other                                  12bCode

   Retirement plan                                                    12c Code                                Retirement plan                                                      12cCode


  Third-party sick pay                                                12dCode                               Third-party sick pay                                                   12dCode



       I                                                               I                                          I                                                                 I
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15 Stale Employe(s state ID number
1B Local wages, tips, etc.
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=orm W-2 Wage and Tax Statement                         2015               Dept. of the Treasury •· IRS   Form W-2 Wage and Tax Statement                                                Dept. of the Treasury ·· IRS
                                                                                                          This inl'omiarion is being tumished to the IRS. if you are required to tue a tax return, a negligence
                                                                      BW24UP             NTF 2579558.
                                                                                                          penalty or other sanction may be imposed on you if this income is taxable and you tatl to report it.
           W2 & EARNINGS
                     Case 1:23-cv-01531-SCJ Document 1 Filed 04/07/23 Page 25 of 32
            · SUMMARY

       KTGINC.
       4604 HAL DRIVE
       CHATTANOOGA, TN 37416




  ALBERT K KINNEBREW

                                                         16 Slate & EmplOyer's state 10       18 Slale wag•.~ .etc     7 State income tu       18 Looal wag•,tipl.•c.     19 Looal Income tu 20 Locallty ,..,,,.
                         Filing Status Exemptions        GA              2074507-HR                      5663.48               165.84
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  TOTAL GROSS WAGES                 5663.48              KTG INC.                                                                                  0 .
                                                         4604 HAL DRIVE                                                                    .....,.....,._,....._,___.._.....,,...,.,.....,...,_,_;;;;.;;..,.-4 N
  Description                       Amwml     ~
  Soc. Security Wages               5663.48   3          CHATTANOOGA, TN 37416
                                                           Employe<'o idoni- numb«           d Conlrol Numb«
  Medicare Wages                    5663.48   5
                                                            XX-XXXXXXX                        78256                   1288
  Fed. Taxable Wages                5663.48   1
  GA Taxable Wages                  5663.48   16
  WITHHOLDINGS
  Description                       Amwml     ~
  Fed. Income Tax                    227.00   2
  Soc. Security Tax                  351.14   4
  Medicare Tax                        82.12   6
  GA Income Tax                      165.84   17
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                                                         ROME, GA 30161                                                                    13 s1a1 ..p .   ..,                                                       ,S ~ 1
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                                                         KTG INC.                                                                       5663.48
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Paycor.
             Case 1:23-cv-01531-SCJ Document 1 Filed 04/07/23 Page 26 of 32



______ _S_ta_t_e_o_f_G_e_orgi~_, _County of Floyd
         STATE OF GEORGIA
                                      Plaintlff(s)     Case Number
                                                        14CR00596- JFL00l
              Vs.
                                                       Arraignment
        KENNEBREW, ALBERT KERRY
                                      Defendant(s)




       To:    KENNEBREW, ALBERT KERRY
              103 NICOLE CIR
              ROCKMART,GA 30153



                         NOT-ICE-OF ARRAIGNMENT -
           The above-named Defendant is hereby commanded to
       appear at the Superior Court of Floyd County for arraignment
       on Thursday, May 22, 2014 at 1 :00 pm in Superior
       Courtroom B.
             If the Defendant does not have an Attorney and desires
       the Court to appoint one IT IS IMPORTANT that the defendant
       call 291-5205 within the next three (3) days to see if they
       qualify. A $50.00 application fee is required.
             THE DEFENDANT IS REQUIRED BY LAW TO BE PRESENT
       AND UPON FAILURE TO APPEAR AT SAID TIME AND DATE WILL
       BE SUBJECT TO HAVING AN ORDER ISSUED FOR THEIR ARREST.
            This April 28, 2014.
                                  Barbara Penson
                                  Clerk, Floyd Superior Court



       Defendant's Copy
            Case 1:23-cv-01531-SCJ Document 1 Filed 04/07/23 Page 27 of 32


KINNEBREW, ALBERT KINNEY (#1406003890)
(Aliases: Kennebrew, Albert Kenny/ KINNEBREW, ALBERT KINNY)

                      Jacket numbed03658            Deceased        No               Marital Status5ingle
                      Sex         Male              Complexion      Dark Brown       Citizenship United State
                      DOB         6/26/85           Race            Black or                        of America
                      Age         29                                African          Country of Blrtllited State
                      Height      6' O"                             American                        of America
                      Weight      200 lbs           Ethnicity       Not Hispanic     State of Birth GA
                      Build       Slender           Last Grade      12th             Place of Birth Rome
                      Eye Color   Brown             Religion
                      Hair Color  Black
Distinctive Markings
Tattoos
Shoulder (Left) - BASKETBALL
Shoulder (Right) - KIN
Arm (Left) - ACE OF SPADE, RIP
Arm (Right) - Ace Spade
Abdomen - CROSS W/ KNIFE

Current Address 103 NICOLE CIRCLE, ROCKMART, GA 30153
Emergency Contact                               Cell       (706) 236-0589 Other              (678) 988-0916
Employer                                        Cell       (706) 238-2081
Organization Affiliations                        Emergency (470) 345-5014
Occupation

FBI#              112571CDS        Jacket number     103658             OLN                 GA 049164 760
SID Number        GA3702619M       SSN               XXX-XX-XXXX                            Class C - Single
                                                                                            Vehicle not to
                                                                                            exceed 26,000
                                                                                            Lbs. Exp 2018
Inmate Comments

Initial Cell              Booking-7                  Current Cell                  E-301-1
Booked By                 CASEY, MELANIE             Held For                      Floyd County Sheriff's
Booking Date              06/30/14 16:49                                           Office
Arrest Location           COURT HOUSE                Arresting Agency              FCSO
Court                                                Arresting Officer             WEST, DAVID
BIiied To                 Floyd County Sheriff's     Court Case#
                          Office                     Holding Type                County Sentence
Treat As                  Adult                      Required Cell Checks
Gets Work Release         No
Allows Check Out          No
Hold Reasons
Sentenced (Sentenced)
Court Order (Cleared by Arrest) - Resolved - Sentenced - ~Sentenced 12 months serve 45 days~Aeb
Court sentence - Serving 45 day(s) - Concurrent
[45 day sentence, no adjustment - Approved]
 Arrest Date 06/30/14 09:00
Bond - No Bond
(Court Order on Charge of Battery/Simple Battery-FVA)

~Sentenced 12 months serve 45 days~Aeb
Hold Comments
                                       Case 1:23-cv-01531-SCJ Document 1 Filed 04/07/23 Page 28 of 32
                                                               ROME CI TY SC  HOOL~                                                                                                                    °·
                                                                           .' G~)org1a 30161
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            Case 1:23-cv-01531-SCJ Document 1 Filed 04/07/23 Page 29 of 32

                                     Floyd County BOE
                                    OFFICIAL SECONDARY TRANSCRIPT                        06/14/20 04

 Student Name:        Kinnebre" ;, Albert Kinney                      ID# 22517

 Parent/G uardian                   Home Telephon e                School Identifi cation
  Beverly Kinnebrew                                                Coosa · High School
  27 Northsid e Dr                                                 4454 Alabama Highway NW
  Rome GA 30165                     Sex      Birthdat e
                                    Male     06/26/198 5           Rome, GA 30165
 Ethnic Group         Black

State ID#             10000025 5519794                     Official Attendan ce summary
Class Rank            126 / 0126                           Year      2004 2003 2002 2001
GPA                    74.109 GPA (Non-Wt)     74.109      Present 166.0
Grad Std Yr                                                Absent    11.0
Total Credits        28.00000                              Bnrolled 177.0
Date Graduate d: 06/04/20 04
Date Withdraw n:               - - -------- Test Scores- -- -- -----
GHS              LANG         MATH         SCI        SOC          WRIT
                 506          503          493        499          517

Year   Course            Title                Grade        Credit


2001   07.441            Comptr App            72          1.00
2001   08.471            Intro Marketin g      70          1.00
2003   08.473            Retail Mktng          70          1.00
2004   07.411            Prin Accting l        70          1.00
2004   21.42500 01       Intro Tech 1/A        95          0.50
2004   21.42500 02       Intro Tech 1/B        90          0.50

2002   20 . 423          Chld Dev/Pare nt      70          1.00

2002   50.0411           car/Pott ery 1        84          1.00

2001   23.061            RG Lit/Comp 9         57
2002   23.061            RG Lit/Comp 9         70          1.00
2003   23.062            RG ,Lit/Comp 10       72          1.00
2003   23.473            RG App L/Com l        70          1.00
2004   23.474            RG App L/Com 2        79          1.00

2001   27.455            RG Con Prb Solv       74          l.00
2002   27.445            RG App Prb Solv       75          1.00
2003   27.44610 01       RG App Alg A         72           0.50
2003   27.44610 02       RG App Alg B         72           0.50
       27.44900 01       RG App Geom A        70           0.50
       27.44900 02       RG App Geom B        75           0.50

2001   17.011           Pers Fitness          71           1. 00
2001   17 .015    ,     Drug/Ale Aware        p
2001   36.054           Height Training       92           1. 00
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Scho ol Name :                             Model High Schoo l
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                                           3252 Calhoun Highway                                                                             ------
Addr ess:
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                                                                        Strc~l ·                                                          -------
                                           Rome , Georgia 30161
                                                                        City. Statt. Zip
                           706 236-1 895
Phon e:
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         CHECKLIST for Individual           ~\be.cl: tdmoruei,0        MHID#......::~~ 1_l4.___
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  □The information checked below is required by the State of Georgia for you to remain on our sliding
  fee scale. If these documents are not received within 60 days from your Initial Intake appointment,
  you will be discharged and referred to another provider.

  o The information checked below is required by the State of Georgia annually, and anytime there is
  a change of status requiring a financial update. This information will be requested at the time of
  your annual paperwork update. Your appointment is on _ _ _ _ _ _ __, at
  _ _ _ _am/pm. Please bring this information with you at the time of your appointment.

 ADULT INDIVIDUAL:

    D Picture I.D. {Driver's license, Passport, State Issued Photo ID)
    D Social Security Card or Birth Certificate {only one or the other for adults)
    D Insurance Card
   \-i Proof of Income (Department of Labor Earnings Statement from your local Department of
    l' Labor, Bank Statement, Most Recent Check Stub, Food Stamp Award Letters and/or Last Year's
       Tax Return) This includes all household income for anyone living in the home. ..         ,         ~
CHILD/ADOLESCENT:                                                                       \\.\us\ no.v~ bE.tQf't
    o Parent/LegalGuardianPicturel.D.                             ~u\11~,io~,                     ·or LLJil\ bl
    D Proof of Guardianship (Birth Certificate, Guardianship Paperw~, Divorce Decree, etc.)         dE£.h:JfQfd
                                                                                                            v
    D Child's Social Security Card
    D Insurance Card {If the child has insurance. If not, the guardian has 60 days to apply and provide
      a letter from DFCS showing approval/denial.)
    D Guardian's Proof of Income {Department of Labor Earnings Statement from your local
      Department of Labor, Bank Statement, Most Recent Check Stub, Food Stamp Award Letters
      and/or Last Year's Tax Return).



This information has been explained to me and I have been given the opportunity to ask any questions
that I may have.



Individual SignatQ.e: _A-........,..
                             f _ _ _ _ Date                           b - &. - ;;)_ (
Staff Signature   ~nu!~ JiloNw                                 Date   5~l1 'd (
Copy to individual

Copy scanned to Financial Record




Financial Intake: Individual Checklist Reminder Letter
Form 1220A Individual Checklist
3/30/2023                                       Case 1:23-cv-01531-SCJ Document 1 Gallery
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